               4:25-cv-03009-JD                   Date Filed 06/04/25         Entry Number 10             Page 1 of 1
AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                         District of South Carolina


    Albert S. Kelly, aka Albert Santanieyo Kelley                       )
                            Plaintiff                                   )
                         v.                                             )    Civil Action No.       4:25-cv-3009-JD-TER
  Regional Director Williams, Superior Respondent                       )
                           Defendant                                    )

                                                   JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of          %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                             .

 other: This case is dismissed pursuant to Rule 41(b) of Federal Rules of Civil Procedure.


This action was (check one):
’ tried by a jury, the Honorable                             presiding, and the jury has rendered a verdict.

’ tried by the Honorable                           presiding, without a jury and the above decision was reached.

 decided by the Honorable Joseph Dawson, III, United States District Judge.

                                                                            ROBIN L. BLUME
Date: June 4, 2025                                                          CLERK OF COURT

                                                                                                s/Debbie Stokes

                                                                                         Signature of Clerk or Deputy Clerk
